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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 FEDERAL HOME LOAN MORTGAGE
 CORPORATION,
                                                                         20 Civ. 8884 (PAE)
                                       Plaintiff,
                        -v-                                                    ORDER

 FINDLAY ESTATES, LLC, SHEINDY GRUNHUT,
 COHLER FUEL OIL COMPANY, INC., and JOHN
 DOES 1-50, the names of the last 50 Defendants, being
 fictitious and unknown to Plaintiff, such persons or parties
 being intended to designate parties with liens that are
 subject and subordinate to the lien of the mortgage being
 foreclosed herein and tenants, lessees, or occupants of
 portions of the mortgaged premises described in the
 Complaint,

                                       Defendants.


PAUL A. ENGELMAYER, District Judge:

       On October 30, 2020, the Court set a briefing schedule on plaintiff’s motion to appoint a

receiver and managing agent. Dkt. 19. However, the Court understands that the defendants in

this case have not yet appeared. Accordingly, the Court extends the briefing schedule on

plaintiff’s motion to appoint a receiver and managing agent as follows:

           x   Defendants’ opposition to the motion, if any, is due November 30, 2020;

           x   Plaintiff’s reply, if any, is due December 7, 2020.

       Plaintiff is directed to serve a copy of this order and its motion to appoint a receiver and

managing agent at dockets 6–14 by November 10, 2020 and to file forthwith proof of service.
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      SO ORDERED.


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                                               ______________________________
                                               PAUL A. ENGELMAYER
                                               United States District Judge
Dated: November 6, 2020
       New York, New York




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